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                        EXHIBIT A
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


 In re Polyurethane Foam Antitrust                    Case No. 1:10 MD 2196
     Litigation
                                                      ORDER SELECTING INITIAL TRIAL,
                                                      REQUIRING PARTY MEDIATION, AND
 This document related to: ALL CASES                  REVISING REMAINING DEADLINES

                                                      JUDGE JACK ZOUHARY


        Recent events in these consolidated proceedings suggest that an adjustment to the remaining

dates in the Fifth Amended Scheduling Order (Doc. 1137) is appropriate. This Court does not take

this step lightly. The Fifth Amended Scheduling Order (like all prior iterations) was the product of

party agreement.     But in light of the pending motions for leave to appeal this Court's class

certification decision, last week's criminal pleas entered by a Woodbridge Defendant, and this Court's

decision with respect to trial date and format (explained below), this Court concludes now is an

appropriate time to hit the "pause button" in this litigation and allow the parties to focus on settlement

discussions. Thus, parties are required to meet with a mediator oftheir choosing to pursue resolution

ofthis case on their own terms. The remainder of this Order explains the trial format for the three sets

of claims that will be tried in this District (assuming no settlement is reached) and explains related

adjustments to the Fifth Amended Scheduling Order.

        Following the recent in-person record conference (Doc. 1255), this Court reviewed the party

submissions regarding the scheduled October trial (Docs. 1234, 1243-44, 1258, 1260-69). As

evidenced by these filings, including discussion of how other courts have handled trial of complex

civil cases, clearly there is more than one way to meet the goal of Federal Civil Rule 1 in "secur[ing]

the just, speedy, and inexpensive determination" of civil actions.
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        In the context of these consolidated proceedings, Federal Civil Rule 42(b) provides one such

tool, allowing "separate trial[s] of one or more separate issues" to achieve "convenience, to avoid

prejudice, or to expedite and economize" resolution of a case. Issue bifurcation "should be resorted

to only in the exercise of informed discretion [in which] the court ... conclude[ s] that such action will

really further convenience or avoid prejudice. But the paramount consideration at all times in the

administration of justice is a fair and impartial trial to all litigants. Considerations of economy of

time, money and convenience of witnesses must yield" to a fair and impartial trial. In re Bendectin

Litig., 857 F.2d 290,308 (6th Cir. 1988) (internal quotation marks omitted). But if a party is "given

an opportunity to present fully its 'theory ofthe case' with respect to" its claims or defenses, a district

court may appropriately bifurcate trial ofa case. Am. Trim, L.L.c. v. Oracle Corp., 383 F.3d 462, 475

(6th Cir. 2004).

        This Court concludes convenience and judicial economy in this MDL will be best served with

the following trial format:

        •       Determination of liability and impact related to the Direct Purchaser Class
                before a single jury; and

        •       Determination of Direct Purchaser Class damages (if any), tried later, but
                before the same jury.

This Court will then hold a second trial on the Sealy Plaintiffs' claims and a third trial on the Indirect

Purchaser Class claims. These subsequent trials will be held in 2015.

        This trial schedule also avoids prejudice to the parties. Plaintiffs will be denied the potentially

unfair advantage, highlighted by Defendants, in which use of separate juries in a consolidated,

bifurcated setting would allow a "first.jury [to] find the existence of a conspiracy" followed by "a

secondjury hearing impact and damages evidence [that would not include] ... potentially mitigating

evidence concerning the scope, membership, and circumstances ofthe alleged conspiracy" (Doc. 1244



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at 5). Instead, the same jury will hear all aspects of the Direct Purchaser Class proceedings.

Individual Defendants (e.g., Mohawk) whose defenses may vary based on the particular Plaintiff

grouping will not face a "Hobson's choice" of mixing and matching, in the same proceedings,

potentially inconsistent or confusing defenses (Doc. 1262 at 2). And because the same jury will

render an initial verdict determining whether the Direct Purchaser Class has shown impact from an

antitrust conspiracy, Defendants' standing-based concerns, expressed at this Court's in-person

conference, are lessened (Doc. 1271 at 24). Finally, precise trial time allotments will depend on

future developments (e .g. , the outcome of settlement talks, action in the Sixth Circuit, summary

judgment proceedings), but a January 2015 trial permits greater flexibility in that regard.

       At the same time, Plaintiffs will not be prejudiced by the phased trial approach. A "directs-

only" trial structure avoids passthrough issues. And assuming the Direct Purchaser Class secures a

liability and impact verdict, the phased trial approach will then center the jury's attention on damages

issues related only to the Direct Purchaser Class.

        Finally, this Court concludes that splitting the trial of this complex case in the manner

described above is more manageable for this Court and the jury than either (l) a case litigated, start-

to-finish, on all issues without break, or (2) consolidation of different plaintiff groupings.

       But, as previously noted, before the parties enter the last stretch of these proceedings, they will

explore good-faith settlement discussions. To assist in this regard, this Court will delay impending

pretrial filings and provide additional time for parties to brief the remaining pretrial motions. The

remaining case schedule is as follows:




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       Motions for Summary Judgment ("MSJs")                        August 22, 2014

       Oppositions to MSJs                                          September 19,2014

       Replies in Support of MSJs                                   September 30, 2014

       Motions in Limine / Daubert Motions for trial                October 20, 2014

       Oppositions to Motions in Limine                             October 31,2014

       Pretrial Hearing (in-person)                                 December 5,2014 at 10:00 a.m.

       Jury Selection and Trial to follow                           Beginning January 5, 2015

       The trial location and trial length will be determined following the period set aside for

settlement discussions. The Fifth Amended Scheduling Order's deadline for Plaintiffs' rebuttal

merits/damages expert depositions (Doc. 1137 at 2) remains July 16,2014, unless otherwise agreed

to by the parties or separately extended by this Court for good cause.

       On Thursday, July 31, 2014 at 2:00 p.m., this Court will hold a record phone conference to

discuss motion for summary judgment briefing protocols. As fodder for that discussion, this Court

will circulate suggestions in advance of that conference.

       IT IS SO ORDERED.

                                                         s/ Jack Zouhary
                                                     JACK ZOUHARY
                                                     U. S. DISTRICT JUDGE

                                                     July 3, 2014




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